Case 2:10-cv-01823-JLR Document 239-3 Filed 03/30/12 Page 1 of 18




         Exhibit 3
  Case 2:10-cv-01823-JLR Document 239-3 Filed 03/30/12 Page 2 of 18
                                                                 December 1993




IEEE
STANDARDS
BOARD




                     BYLAWs




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                                                                         IEEE-MI-MO-02B676
           Case 2:10-cv-01823-JLR Document 239-3 Filed 03/30/12 Page 3 of 18



                                                  Approved by the IEEE Standards Board December 1993
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                                                                                                                               IEEE-MI-MO-028677
          Case 2:10-cv-01823-JLR Document 239-3 Filed 03/30/12 Page 4 of 18



Contents
CLAUSE                                                                                                                                                                                               PAGE

     I.    IEEE standardization ........................................................................................................................... 1

           1.1       Scope ............................................................................................................................................ 1
           1.2       Authority ...................................................................................................................................... 1
           1.3       IEEE standards ............................................................................................................................. 2
           1.4       Purpose of IEEE standardization ................................................................................................. 2
           1.5       Confonnance of products or systems to IEEE standards ............................................................. 2

     2.    Authority (in hieraxchjcal order).,. ........... " __ ,, ..                                                                                                                                   ..3

     3.    IEEE Standards Board organization .................................................................................................... 4

           3.1 Membership ................................................................................................................................. 4
           3.2 Standing committees of the IEEE Standartls Board .................................................................... 5
           3.3 Other comnrittees and bodies ............ ,.......... ~c, ............................................................................. 7

     4.    IEEE Standards Board procedures and1'!lsponsibili*,c, ..................................................................... 9
                                           ./ ,.-;Y  _~_    "-'(;, ~.,.•
           4.1 Transaction of business ..,./.::.:-:.;{': ...... ,_ .. ;":f-::......... ,.~~:-., ... '~-"""~"" ........................ _................... "....... 9
           4.2 Standards-develop~5nt'pr~ss .... ::..... ·'_._;:: .. :.............. :l~,.:.:c,... :................                                                                                     .. .... 9
           4.3 'RpvlPUf r:vrl,p_~
                  •  •• - J
                     ~,-    ~-    • "o"{" -•••••. •::r·······
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                                                                           ......... ........ "
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                                                                                                       :~:.;:       .....c:, .........."_ ,............................................. 11
                                                                                                                '.' _ ,_
                                                                                                                          '~'.""'"     ~;',                                                                   --
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                                                                                             ___ • __ ••                                                                                                      11
           4.5 i~;~~r~tati~~s'                    ...:..:                             .:. : '.':
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     5.    Patents ......................................... :,.::::;., .........
                                                                                  "
                                                                                                      ';.iL ........"...". :........................................................... 13
                                                                                                                   ,,-'


           5.1 Disclaimer ............... __ .................. .-.. ; ...... ,.;;;L·.... __ ....... ____ .. __ .________________ .......... __ . ____ ................ . . 13

     6.    Modifications to the lliEb Standards Board·Sybfws ......................................................................... 14

           6.1 Interpretations of the IEEE t~.,Be1'¥~t~~s:~                                                                          ...............................                                        14




ii



                                                                                                                                                                                                          IEEE-MI-MO-028678
        Case 2:10-cv-01823-JLR Document 239-3 Filed 03/30/12 Page 5 of 18




IEEE Standards Board Bylaws




1. IEEE standardization

1_1 Scope

The scope of IEEE standardization activities f;dis:,*itbi~ihe.technological fields stated in the IEEE Constitu-
tion: the advancement of the theory and prictid; of e\ectri2atehg!neering, electronics, radio and the allied
branches of engineering. and the rela~~-,a,ytf and s9i~p,ces. This,,'s'co~e includes the defined scopes of the
Societies! and Technical Committ~~s~ I)l"a transnaa~:n-'al organizapon,dEEE strives to generate standards
publications that will have the QJo~ade$.t::potent\~~intemati~_
                                --    .-"              -"     '-.-,
                                                                   acceptit}1ce:"'c,
                                                             ~,.,,'.>-';    '"'.    .
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                                        ,     ,_~,            "'-";' «",    '_.'_       - " - ,_c,     _",   ,.'


The IEEE Standards Board has overall~responsibility/fof-"all standaql:s d~::velopment and approval for which
the IEEE is ultimately responsible, ~'d~~6I!:: responsi~fGty for ap1H.)f~:tntent to and participation in, and coop-
eration with, other organizations on all standards maiid-s.         -,
                                                     -"",      .-;.,       ,,-"-;';,'

When appropriate, IEEE will cooperate with s~,dhl-<lizit([{~~ps throughout the world'in the preparation of
standards inval ving an area of interest ';.'.ritbin its scppe. l\..pproy~l Df a standard by t.'-le IEEE signifies that the
IEEE believes tb.e document to h,e consistent \vith go.~,;e·ngineering practice a.'1d tlJ.at it represents a consen-
sus of engineers from all aspects of the involved industries, governments, and public interests.


1.2 Authority

The IEEE Standards Board is estabiished under Section 310 of the Bylaws of the institute of Electrical and
Electronics Engineers. It is represented on the IEEE Board of Directors and other major Boards as specified
in applicable provisions of the Bylaws of the Institute. Its organization beyond that specified in the IEEE
Bylaws is governed by these bylaws, as supplemented by the IEEE Standards Operations Manual.

The IEEE Standards Board is responsible on an Institute-wide basis for matters regarding units and stan-
dards in the fields of electrical engineering, electronics, radio, and the allied branches of engineering or
related arts and sciences, and is in particular required to

  a)     Encourage, coordinate, and supervise the development of IEEE standards
  b)     Review all proposed IEEE standards to detennine whether the proposed standards conform to the
         requirements established by the IEEE Standards Board and whether consensus has been achieved
         for approval of the proposed standards

iThe use of the term "Societies" in these bylaws encompasses the IEEE Societies, Groups, and Cowlcils tllltt operate limier the IEEE
Technical Activities Board.




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         Case 2:10-cv-01823-JLR Document 239-3 Filed 03/30/12 Page 6 of 18
IEEE STANDARDS BOARD BYLAWS                                                                                                    1994


    c)    Encourage, coordinate, and super-lise IEEE pa.......lcipation and cooperation with ot...1.er orga..'1izations
           (including governmen1a1 bodies) on standards matters


1.3 IEEE standards

thEE deveiops and pubiishes standards in categories that indude but are not iimited to definitions and tenni-
noiogy; methods of measurement anu test; ~ystems; products; technology; ratings structures; temperature
limits and application guides; recommended practices; and -safety. Rating and dimensional information
included in an IEEE standard should result from technical considerations. Rating information developed by
other competent organizations may be included provided it is consistent with good engineering practice.

The approvaJ and publication of an IEEE standard implies that the docnment repre:;;ents a consenslis of all
parties who have participated in its development and review. Since every attempt is made to involve all
interests in the activity, it can be presumed that the document represents a consensus of all interests con-
cerned with the scope of the s1andard. Consensus is eS1ablished when, in the judgment of the IEEE S1andards
Board, subs1antial agreement has been reached by directly and materially affected interest categories. Sub-
stantial agreement means much more than a simple majority, but not necessarily unanimity. Consensus
requires that all views and objections he consid~fed>.~d that a concerted effort be made toward their
resolution.                                       ".      ~,~
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                                                               ,"     ,pY                  "\"           "c,

1.4 Purpose of IEEE standardiz!\tibd               ~,.~
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IEEE standards provide a conunon~inptid for communication antb,ng en,gineers and scientists in some spe-
cific area of electrotechnology)~They,;mso p,'?J'lde cllJeriiN'Q.! the atc,epiable performance of equipment or
materials pertinent to the fieJd'Qf eledJ:!"otecb~tj\9gy· Ii; ._!~                  :
                                  '"          -'c~__ ..    '-"~"~~-,£,;'~hc,'     ./[-
                                     '"'.-"'_         '(.~           iJ','i   ;:;)9' _.;c'
The purpose of the review by the IEEE.st~dards Bo;@:9 is to en~felh1t IEEE S1andards represent a consen-
sus of interests substantially concerned witll'l>r,potenUil1Iy aff.ct~dby these s1andards and that proper proce-
dures have been carried out in fonnulation--d(ttie~!~tf~~~jPq_ ; ..-
                                                                '._       v"_~'~_.",_;{q.~          .;

An IFFF standa..-d gives an authoritative referen9c to the:       " stat¢-of-tIlc-art th.ut is kept up to date through
                                                                                                           ,,'

revie\v at least ever! five yea..rs by th.e Sponsor :re&:PbJ,l~j1)le for its preparation.
                                                   ~..[,D   ,,.,;¢:::.,,,::;';,;n ,'0Fc:,-_~ __ ,~: f-; ~;-~~,~<-;l
1.5 Conformance of products o~t~~~~g)Ei.~~;~tandards
                                                   ?~\~; ~~~:;"~~·s ~;j::;,-_,·."d v.~;~ :-c~"-
No member or group of members of the               Tn'tillitel' aulii:oai~a: ,c;
    a)    To act for the institute in product testing Of in certification of products or syste.ms lU L:umply with
          IEEE s1andards, or
    b)    'Io offer any opinion in the name of the Institute on the conformance of products or systems to the
          requirements of IEEE standards for their intended use and safe operation.

IEEE standards may contain testing procedures useful in detennining whether prcxlucts or systems are in
compliance with the standards. Compliance in itself does not necessarily imply quality or guarantee proper
use. Where IEEE standards are used as the basis of examination and/or testing of products or systems by lab-
oratories or other agencies in the process of determining their suitability for their intended use and safe oper-
ation, the IEEE assumes no responsibility for the use or interpretation of its standards or the adequacy of the
testing or certification. Use of IEEE standards numbers to convey conformance with a corresponding IEEE
standard shall constitute a declaration of conformance solely by the party using the number, and such party
shail indicate that the Institute has not certified, endorsed, or approved any such product. 2

2Por information on the use of the IEEE logo, see the IEEE Policies and Procedures Manual




2




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           Case 2:10-cv-01823-JLR Document 239-3 Filed 03/30/12 Page 7 of 18
    1994                                              IEEE STANDARDS BOARD BYLAWS


    2. Authority (iii hierarchical orderj
(
    New York State Not-for-Profit Law

    IEEE Statement of Incorporation

    IEEE Constitution

    IEEE Bylaws

    IEEE Standards Board Bylaws

    IEEE Policy and Procedures Manual

    IEEE Board of Directors Resolutions

    IEEE Standards Operations Manual

    Roberts Rules of Order




                                                                               3



                                                                             IEEE-MI-MO-028681
         Case 2:10-cv-01823-JLR Document 239-3 Filed 03/30/12 Page 8 of 18
IEEE STANDARDS BOARD BYLAWS                                                                                   1994


3. IEEE Standaids Boaid oiganization

3.1 Membership

The IEEE Standards Board shall consist of no fewer than 18 nor more than 26 voting members, who shall be
of Member or higher grade of the Institute, including a chair, vice-chair, and the most recent past chair avail-
able to serve. In addition, the IEEE Standards Board may include nonvoting participants as described below:

    a)    Liaison representatives of IEEE Boards, Societies, and Technical Committees, and representatives
          of other organizations [except the representative of the IEEE Technical Activities Board (TAB), who
          is a voting member] in order to provide coordination and communication between the IEEE Stan-
          dards Board and the IEEE Societies and Technical Committees as weli as other organizations
          involved in standards actiVJl:"e5.
    b)    Member emeriti elected for life by the Standards Board and ratified by the IEEE Board of Directors,
          based on long years of prior distinguished service on the IEEE Standards Board and its committees.

3.1.1 Officers

    a)    Chair: The Chair of 'the IF.EE Standards- ·Boa...nlshffll be 'the WEE Vice-President of StaTlflnrds Activ-
          ities, who is elected for a term of ".o~e.·;;j~~ "by: the IEEE Assembly_ The Chair is eligible for
          reelection.                       ,'·/i.cf,J)'   .2':.. ";'-\,~.'",
    b)    Vice·Chair: The Vice-Chair qfih,ef'IEEE Stl!g4ards B611r~hball be elected by the IEEE Standards
          Board from among the v.ot1~&;:ihembers fdt:>~ tenn otlW~~·'year. The Vice-Chair is eligible for
          reelection.            . . ;/f;'       ~ .."';;" 2~ ";~"!<',        "~'., "-""'"
    c)    Past Chair: The most'r,cen!,!:,ast Cb:ijrpf th~ IEIj1VStandar<!s Bo"ro available to serve sball be an
          officer of the IEEE Standa.d~l3~:rrd.,,:;"                        ,:'
    d)    Secretary: The Staff Director i)~Sll\!ldards, a:member of,the.IEEE staff, is the Secretary of the IEEE
          Standards Board, as designated ilyjheIEEH,<)imeraJM'\n;\ger.

3.1.2 Liaison representatives

The fonowing persons serve as nonvoting (uniess"already voting members) liaison representatives to the
IEEE Standards Board and its standing c~tn~ittpes t?~S§!.sU~ c~Qrdinating standardization work with their
respective organizations:                   ~] !~~t';;~:~~ t:~!~,~~;' ~1~:'~~
                                            ::::::-' ','0 >,"j, i.":".'   ,""".;:.~:,r~",., ~~"~"~i'/.'
    a)    The chair of each IEEE Standards"CdblilinafiifgcCortutllltee (SCC) appointed by the IEEE Standards
          Board.
    b)    Repre&entatives cfIEEE Societies and Councils (and their Technical Committees), appointed by t.~e
          Presidents or Chairs of these bodles. Sponsor Committees may also designate liaison representatives
          where COIIllIliLtee standards activity indicates the need for representation.
    c)    Representatives of organizations outside IEEE, designated by these organizations.
    d)    Liaison representatives designated by other Standing Boards.
    e)    Such other liaison representatives as the IEEE Standards Board may authorize.

The responsibilities of the liaison representatives are given in the IEEE Standards Operations Manual.

3.1.3 Tenure

Members of the IEEE Standards Board may serve up to three consecutive one-year terms, except that chairs
of standing committees or members of the Administrative Committee may be appointed to additional terms
to provide experience and continuity. Voting members of the IEEE Standards Board shall be appointed by
the IEEE Board of Directors.



4



                                                                                                               IEEE-MI·MO·028682
           Case 2:10-cv-01823-JLR Document 239-3 Filed 03/30/12 Page 9 of 18
    1994                                                                                                             IEEE STANDARDS BOARD BYLAWS


i   3.1.4 Advisory Committee to the IEEE ViCe-F'i6sideiit of saliiiidsids Actrvities

    3.1.4.1 Scope

    The Advisory Committee shall provide advice and guidance to the mEE Vice-President of Standards Activ-
    itie~ to ensure continuity of the JEEE Standards Program. It shall have overview responsibility for strategic
    planning, the IEEE Standards Deparbnent operating budget! and other areas as appropriate.

    3.1.4.2 Organization

    The committee shall consist of the immediate five past Chairs of the mEE Standards Board willing to serve
    and lhe currenl Vice-Chair of the mBE Standards Board. The currenl Chair of the mEE Standards Board
    and the Staff Director shall serve ex-officio. The most immediate Past Chair of the IEEE Standards Board
    willing to serve shall be the Chair of the Advisory Committee.


    3.2 Standing committees of the IEEE Standards Board

    3.2.1 Procedures Committee (ProCom)

    3.2.1.1 Scope

    This committee shall be responsible f9X--;""t>'rnmenilipg tothe,lEliE Standards Board improvements and
    changes in procedures and manual~J(f'p~omote effiqt~t discharg~fte_~'ponsibilities by the IEEE Standards
    Board, its committees. and othq,comm'itiees oithe In'Stitu~_.engaged,jn standards activities.
                                    J        ~7:'         ,.,:~;;;_c,~:,·   - ;.-:8           "'--"':~   ,   'ii\    -,

    3.2.1.2 Organization
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                                                                                                     -..>     J;
                                                 <:,.,
                                                                                                              -~.'

    This committee shall have up to six m~mbers, incluqi_,~g a chair; the ~hair and other members shall be mem-
    bers of the mEE Standards Board and shiilll,e_app6intedf6r~terrn of one year by the Chair of the mBE
    Standards Board.                            - -             -
                                                       <,-:; .f--.'



    3.2.2 New Standards Committee (NesComtc


    3.2.2.1 Scope                                    ~1~ ~~c,;~: l:J:c': ~1i:.;;
    This committee shall be responsible for ~~UU:Il_;;Jh~I:~J:&!l'1!21c~!i'ndards projects are within the scope and
    purpose of the IEEE, that standards projects are assigned to the proper Society or other organizational body!
    and that interested parties are appropriately represented in the development of IEEE standards. The commit-
    tee shall examine Project Authorization Requests (PARs) and make recommendations to the IEEE Standards
    Board regarding their approval.

    3.2.2.2 Organization

    This COlT'LL'Ylittee shall be com.prised of no less tha."1 10 IEEE members, at least -1 of -whom, inc:ludin_g the
    chair, shan be voting members of the IEBE Standards Board. The chair a!ld oth.er members of the cO!lupittee
    shall be appointed for a term of one year by the Chair of the mEE Standards Board.

    3.2.3 Standards Review Committee (RevComj

    3.2.3.1 Scope

    This committee shall be responsible for reviewing prop:>sals for the approval of new and revised standards
    and for the reaffirmation or withdrawal of existing standards to ensure that the proposals represent a consen-



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                                                                                                                                            IEEE-MI-MO-02B6B3
       Case 2:10-cv-01823-JLR Document 239-3 Filed 03/30/12 Page 10 of 18
IEEE STANDARDS BOARD BYLAWS                                                                                  1994


.IOUS of the parties having a significant interest in the suhjects covered. The com!nittee shall routinely exarnine
submittals to ensure that all applicable requirements of the IEEE Standards Operations Manual have been
met.

3.2.3.2 Organization

This committee shall be comprised of at least 12 members. at least 3 of whom, including the chair, shall be
voting members of the IEEE Standards Board. The chair and the other members of RevCom shall be
appointed by the Chair of the IEEE Standards Board for a term of one year. In making nominations. the
nominating committee shall give consideration to attaining membership from various IEEE Technical
Divisions.

IEEE Standards Board members not appointed to RevCom may serve as ex officio' members without voting
privileges.

3.2.4 Awards and Recognition Committee (ArCom)

3.2.4.1 Scope

This committee shall be responsible for the flll)i}iisia~Qn~bt all awards presented by the IEEE Standards
Board. It shall act on behalf of the IEEWS,taildard.s Boiil;d, to approve nominations for IEEE standards
awards. It shall submit nominations for st!lnd.ifds awiUtls sportsoi&i by other organizations.
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3.2A.2 Organization               J,.t     -1i'
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This committee shaH be comprised,        ~i;l,lp i.o·-t~~::1n~~er.s3t~luui~g-'-a
                                                                         l:hai{ three of whom shaH be voting
members of the IEEE Standards Bri'arfI>I;he chair          ail'd
                                                       the other~Ifi~rn:liers shall be appointed for a term of
one year by the Chair of the IEEE Standll\"ds$oard. ~\        f:"
                                                  -,   ~-'"                          -,
                                                                                 ";~'


3.2.5 New Opportunities in Standards "cqrllndttee (NosCom)

3.2.5.1 Scope

This committee shall be responsible for iil~pijfili~aIiJ:~l:pt#I~i'avenues for enhancing IEEE leadership in
areas of new technological growth and f9i::r~eoilifu~Jifig t~'the:IEEE Standards Board actions to achieve
this purpose.                            ~: ~;~:;~::;;:-< :f;;;;~~~~:l~? r:!Y?~t,'?;

3.2.5.2 Organization

This committee shall be comprised of up to 14 voting members of the IEEE, at least half of whom, including
the chair, shall be voting members of the IEEE Standards Board. The chair and the other members shall be
appointed for a term of one year by the Chair of the IEEE Standards Board. Consideration shall be given to
attaining membership from various IEEE Societies, especially those experiencing new technological
growth. All IEEE Standards Board members not appointed to NosCom may serve as ex officio members
without voting privileges.

3.2.6 Procedures Audit Committee (AudCom)

3.2.6.1 Scope

This committee shall provide an oversight of the standards-development activities of the societies, their
standards-developing entities, and Standards Coordinating Committees of the IEEE Standards Board.



6



                                                                                                              IEEE·M I·MO-028684
       Case 2:10-cv-01823-JLR Document 239-3 Filed 03/30/12 Page 11 of 18
1994                                                                                                               IEEE STANDARDS BOARD BYLAWS


3.2.6.2 Oigaiiizatioii

This committee shall consist of at least five members. Five of the members, including the chair, shall be cuc-
rent or fanner members of the IEEE Standards Board. All members shall be appointed for a tenn of two
years by the Chair of the IEEE Standards Board.

3.2.7 Seminars Committee (SemCom)

3.2.7.1 Scope

This committee shall provide oversight for the operation of the seminar program by providing technical
expertise 2...'ld support. The cO!!lJ!littee shall review and propose new serojnars to ensure t...hat the· topics c-ov-
ered are appropriateo

3.2.7.2 Organization

This committee shall consist of a minimum of three m.embers, including a chair, and shall include the IEEE
Standards Deoartment Seminar Manae:er. The chaif}andTmembers shall be appointed for a term of one year
 - the Chair ~f the IEEE Standards B;;ard. EacbciEeESoCiety
by                                                . - ::'- -
                                                             may be repr~~nted by one member.          -
                                                         ,/ "..(i/'::              -~{~_ ..;,
3.2.8 International Committee (IntC9m):"'                                   c·"
                                                   /'   A;:'             ij~:;-,. ";,.
3.2.8.1 Scope                        ;./".;,';:jpfi/                    :f:f~~~<f                    ;\~.
                                 /       ,f;'f--         f~~~~'~"          ~i,                  :z          '~'.
This comnrittee shall be res~ll~ibIJl:for cd~o.i!ting~ IEEJ~i;Standad1s activities with non-IEEE standards
organizations.              - '-." ,", .~~     "-~,,"",,-:~~~:.: ,- ",-,.- .,.;' -, ,c-
                                                                           '-"",
3.2.8.2 Organization
                                                           ",-,,\~ -<_t~~",..._ ,,_,j);':'· ,if'
This committee shall be comprised of no more than 10 m~rfibnB. The chair shall be a voting member of the
IEEE Standards Board. The chair and the other .hember~ shan be appointed for a term of one year by the
Chair of the IEEE Standards BOard. At least 50% oha;;" members shall either be current or past members of
the IEEE Standards Board.




The Administrative Committee shall act for the IEEE Standards Board between meetings and make recom-
mendations to the IEEE Standards Board fur its disposition at regular meetings, Adeom shall be comprised
of the ollicers of the IEEE Standards Board and the chairs of each staoding committee of the IEEE Standards
Board, appointed for a tenn of one year by the chair. The Chair of the IEEE Standards Board shall be the
chair of AdCom.


3.3 Other committees and bodies

3.3.1 Standards Coordinating Committees (SCCs)

Proposed standards are normally developed in the technical committees of the IEEE Societies_ However,
there are occasions when the scope of an activity is too broad to be encompassed in a single Society, or a
Society may find itself not in a position to carry out the necessary work. The IEEE Standards Board shall
establish its own standards-developing committees, namely Standards Coordinating Committees (SCCs), to
perform this function when necessary, and report to !he IEEE Standards Board.



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      Case 2:10-cv-01823-JLR Document 239-3 Filed 03/30/12 Page 12 of 18
IEEE STANDARDS BOARD BYLAWS                                                                                                                      1994


The officers (chair. vice-chair. etc.) of an SCC shall he appointed by the IEEE Standards Board Chair each
year, and may serve consecutive tenns. The chair shall be a member of the IEEE. The members of sees and
their subcommit:tees are appointed by

    a)     The SCC Chair,
    b)     An IEEE Society, or
    cJ     The IEEE Standards Board.

Memhership in the IEEE is encouraged.

The chair of an SCC shall submit a written report each year to the IEEE Standards Board for approval. This
report should contain the scope, activities, and meeting schedules, along with the membership roster. The
roster shall indicate tl-te m-EE membership status and society affiliation of each member. The sec chair may
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        ---------e>---      OT~l renort to the
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                                                 ------StHncl;:mf..;.:
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Interested Societies of the IEEE may designate members to an sec who then function as officia1 representa-
tives of the Society. The IEEE Standards Board may designate representatives of outside organizations as
additional members.
                                                                             ,/              \
The sec may act as Sponsor for individual sta!}dards)projects. If the sec serves as a Sponsor, it shall meet
all the requirements of such a body (inc1udi~;cl,ati;~-5':df;~he~{EEE Standards Operations ManlUJl).
                                                 /'-' ,1ttf                 "f>-      ",~\:~,. ""'"",
With the approval of the IEEE StandarM~jjiu:d, an~S:C maY'~tab)ish subcommittees as necessary to per-
fonn its function.                       /" fi,.l"                      {::;*,'~~1                 '{;.,.. -<~-,-,_~.
                                           _,"'-                           -vo                            {."
                                  .,',. ,;}!         -,-,<--~\';;';-~--    ~'j;    ';;::',(.,               ,\~       '\, ".
Each member of an          sec
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           Case 2:10-cv-01823-JLR Document 239-3 Filed 03/30/12 Page 13 of 18
    1994                                                                                                                        IEEE STANDARDS BOARD BYLAWS


    4. iEEE Standards Board procedures and responsibiiities

    4.1 Transaction of business

    Regular meetings of the lliEE Standards Board shall be held quarterly, in accordance with a schedule
    approved at the first meeting of each year. Speciai meetings may be calied, when deemed necessary, by the
    Chair or at the request of five members.

    A quorum shall consist of a majority of the voting members. Approval of proposed IEEE standards, or pro-
    posed withdrawal of such standards, shall require affirmative votes by at least 75% of members voting.
    Except as otherwise specified in these bylaws, meetings of the IEEE Standards Board shall be run in accor-
    dance with the parliamentary procedures of Rober-i j' Rules of Order.


    4.2 Standards·development process

    4.2.1 Membership of !EEE standards-deve!"d~m'e:~t committees
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    In general, participation in IEEE standards qeV~o1Jmend&-~pit,an individual basis. An individual member of
    the IEEE is a participant who is expectc?;l"t,g:{Z~t bn4yd on~"b~. her individual qualifications, belief, and
    experience. In addition, a spokespersqR'1~e con~:~lls of a:n:<nr!tavization, committee, segment of indus-




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    also participate.                  ~
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    try, or similar group may also par!i0lj\a\j!i'Non-IEEEiWembers who'fU'e'r~~ognired experts in their field may


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    4.2.1.1 Openness                                                       ".:                                   hi

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    Openness is defined as the quality ofbeing,,,,,t,,,,,trl2ted to;li'partlcular type or category of participaIlts. All
    meetings involving standards shall be open ta.~inhli'~~~W'dpaIties.
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    4.2.2 Sponsor

    A sponsor sball be a group of indlivi,du~                                                                   ~'illtel'est in the development of standards
    (either by direct participation or by the                                                                  C'hn,olo,gical areas that fall under the general
    scope of interest to the IEEE.

    All IEEE standards development shall be based on projects that have been approved by the IEEE Standards
    Board, and each project shall be the responsibility of a Sponsor. Sponsors of IEEE standards projects are
    conunittees that are responsible for the development and coordination of the standards project and the main-
    tenance of the standard after approval of the standard by tbe IEEE Standards Board.

    The Sponsor shail be:


      a)     A Technical Committee within all IEEE Society
      b)     A Standards Committee or Standards Coordinating Committee of all IEEE Society
      c)     A Standards Coordinating Committee established by the IEEE Standards Board
      d)     A Standards Subcommittee organi7..ed by or reporting to one of the above
      e)     An Accredited Standards Committee
      f)     Other organizations as approved by the IEEE Standards Board



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       Case 2:10-cv-01823-JLR Document 239-3 Filed 03/30/12 Page 14 of 18
IEEE STANDARDS BOARD BYLAWS                                                                                       1994


4.2.2.1 Creation of Sponsors

Sponsors formed under rule Cd) shall be officially recognized by the IEEE Standards Board only after a 75%
approval by the creating comittee. Once fanned, Sponsors automatically assume duties and receive balloting
rights according to suhclause 5.1.1 of the IEEE Standards Operations Manua!.


4.2.2.2 Sponsor responsibilit'llaccountability

The sponsor accepts responsibility for oversight of any of itr;; assigned standards, including overseeing coor-
dination, balloting, and making annual activity reports to the IEEE Standards Board.


When the breadth of interest in a standard is great enough so that more than one technical t.;oITuniLtee wishe.s
to have a role in its sponsorship, ajoint committee of the two or more interested committees may be formed
to sponsor the standard jointly_ That joint committee, whose membership shall be detennined by mutual
agreement, shaIl assume all of the duties of the Sponsor (see subclause 5.1.2 of the IEEE Standards Opera·
tions Manual).

4.2.2.3 Sponsor balloting group

IEEE Technical Committees, whose mem~ei~,bi~'-'i~ n~aii~~cS)h~tituted by IEEE members, may function as
the sponsor balloting group. In any cas.~(~ballotiqE~oup sfiau '~O)lsist of members and/or affiliate mem-
                                        #'.   .-,,\'?    "-~ :,'" ,-       ','" <'-,
bers of the IEEE. In addition. the Insfitll.J;<iBylaws prpwde, with ~.app(oval of the IEEE Standards Board,
that designated representatives ,of -'orgiiniza~Q~1jOutJi~e trnf- IEEEr-and ii1v~ted experts who are non-IEEE
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members may hold memberslt.1£ on IE_PP cO'l!'~~ttees,;-:q.n~_s~,b:cornmittees d~:'ieloping standards <lJld shall be
pntitl,..rl to votp on ITll'ltt,..r<:o rt"bt-irio to fho~ .... d~i1'ifkTit<:'1~:'~~;3t :,-,.,..        _,,'/» '
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An organization is an ent!ty ~at represent(b{~:d-b~~d m~_H1,~efS~p interest. This includes not only stan-
dards-development orgamzations but also othre:r<types 0fiorg~.11IZatlOns such as a government agency (fed-
eral, state, or local), user group, or trade assoda~ori:-" ,.

                                                                                          ,
It should be noted that individual firms are not considefed to be organizations.


4.2.3 Project authorization

In order to avoid duplication, provide for effective management of overall efforts, assure proper coordina-
tion, and expedite approval of" final documents, all requests for an initiation of a standards project, in the
form of a PAR, shaH be approved by the iEEE Standards Board. The !bEE Standards Board has assigned to
NesCom the preliminary review of PARs and the responsibility for recommending final approval to the
Board.


Sponsors are required to submit a PAR at the earliest opportunity when a standards project is contemplated
or work is started. Tne Sel:retary of the iEEE Standards Board shall submit PARs to NesCom for approval in
accordanCe with its procedures. U illess specifically authorized by the IEEE Standards Board, no proposed
standard or revision shall he considered hy RevCom without prior approval of the project by the IEEE Stan-
dards Board. The lifetime of a PAR shall bc fOUT years.


For standards and their supplements that may be submitted to international standards-developing organiza-
tions, t.'c project chair should supply a coordination plan to the IEEE Standards Board (for u\e information
of LiltCom) during th.e draft development of t.~e standard that \vi1l ilJustrate the plan t,,1.ey will follow to coor-         .J)
dinate the necessary multiple approvals.



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                                                                                                                   IEEE-MI·MO-028688
         Case 2:10-cv-01823-JLR Document 239-3 Filed 03/30/12 Page 15 of 18
     1994                                                                                               IEEE STANDARDS BOARD BYLAWS


     4.2.4 Final review and approval to' publish
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     All IEEE Standards shall be approved by the IEEE Standards Board prior to publication. The IEEE Stan-
     dards Board has assigned to RevCom the review of standards submittals and the responsibility for recom-
     mending final approval to the IEEE Standards Board. APproval requires a consensus of the IEEE Standards
     Board that the requirements of these procedures have been satisfied and, specifically, that the final results of
     the ballot and statements submitted by other orgattizations who participated in the development of the stan-
     dard indicate that COnsensus has been achieved and unresolved negative ballots have been considered
     together with reasons why the comments could not be resolved.

     4.2.5 Notification of action on standards

     Foliowing each Ineeting uf ille IEEE Standards Board, the IEEE Standards Depatllnent shall1ssue a state-
     ment, available to all interested pw......J.es, which shall detail the actions taken at the last meeting of the IEEE
     Standards Board on approval, reaffirmation, and withdrawal of standards documents and authorization of
     new standards projects. This may be in the form of the minutes of the IEEE Standards Board meeting.


     4.3 Review cycles

     Ali IEEE standards shaH be updated as often as'-~c;w''fnf~ation is availabie or in accordance with the estab-
     lished cycle set by the IEEE Standards Boarl~~r'no !ateithari·1\ve years from the date of publication. When
     an IEEE standard has been in effect for,f~J;lI"years, .;!l\e Secib~.!lf thc IEEE Standards Board shall notify
     the standards liaison representativepf t9:¢-<Spon$ori}f!(~ the staD.~d'.QlUSt be updated within the next year.
     The Sponsor has the option of:       ,{               ':~.           '.c
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                                            ""      ~-~w-
       a)    Reaffirmation                  C;1',    ;',;st"" :.'
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       b)    Revision
       c)    Withdrawal

     The entire document shall be reviewed; supp1~men.ts c3nn6tbe; substituted for the five-year review.
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     4.4 Appea!s

     The provision for appeals is important                                                        and materially affected interests and is
     required as a part of due process.                                                             or withdrawal of an IEEE standard by
     the IEEE Standards Board or one of its                                    any materially affected party who
     objects to the contents of the document or who objects to the procedures followed in its review may file an
     appeal.

     Appeals may have either a procedural or a technical basis. However, all appeals shall be considered by the
     TREE Standards Board on1y after appeals within the organization of the sponsor have been exhausted.


     4.5 Interpretations

     While it is always the intent of standards-developing committees to use language that is so clear that it is
     unnecessary to explain or amplify the original intent of the committee, occasional1y questions arise regard-
     ing the meaning of portions of standards as they relate to specific applications (see also 1.5).

     Questions relating to such interpretations require review and evaluation by a balance of committee interests.
     No single officer or member of an IEEE Sponsor or subgroup thereof shall provide a written or verbal opin-
     ion concerning any portion of the text of an lliEE standards document or an American National Standard
     developed under IEEE secretariat, unless that opinion has first been subjected to consideration by an inter-



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     Case 2:10-cv-01823-JLR Document 239-3 Filed 03/30/12 Page 16 of 18
IEEE STANDARDS BOARD BYLAWS                                                                               1994


pretations subgroup that represents all interested parties on the conLmjttee~ 'The actions to be t~J.en shall be
as specified in the IEEE Standards Operations Manual.




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12




                                                                                                             IEEE-MI-MO-028690
    Case 2:10-cv-01823-JLR Document 239-3 Filed 03/30/12 Page 17 of 18
1994                                                                           IEEE STANDARDS BOARD BYLAWS


5. Patents

IEEE standards may include patented technology if there is n· III I ",~"ay of achieving
the objectives of the standard, if it is justified for technical reasons, and if the patent holder agrees to nondis-
criminatory licensing at reasonable rates.


5.1 Disciaimer

The following notice shall appear in all IEEE Standards:

"IEEE standards documents may involve the use of patented technology. Their approval by the Institute of
Electrical a..'1d Electronics Engineers, Inc. does not mean that using such technology for t..he purpose of con-
forming to such standards is authorized by the patent owner. It is the ob1igation of the llser of such technol-
ogy to obtain all necessary permissions."




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                                                                                                               IEEE-M I-MO-028691
     Case 2:10-cv-01823-JLR Document 239-3 Filed 03/30/12 Page 18 of 18
IEEE STANDARDS BOARD BYLAWS                                                                                    1994


6, Modifications to the IEEE Standards Board Bylaws

Proposed modifications to these bylaws may be submitted to the IEEE Standards Board Procedures Commit-
tee (ProCom) for their consideration. Proposed modifications that have been agreed to by ProCom shall be
submitted to the IEEE Standards Board for final approval.

Modifications to these bylaws and the reasons therefore shall be mailed to all members of the IEEE Stan-
dards Board at least 30 days before the IEEE Standards Board meeting where the vote on these modifica-
tions shall be taken. Two-thirds of the voting Board members present at the meeting shall be required to
approve any modifications.

These bylaws shall be reviewed by legal counsel.


6.1 Interpretations of the IEEE Standards Board Bylaws

Requests for interpretations of this document shall be directed to the IEEE Standards Board. The Secretary
of the Board shall respond to the request within 30 days of receipt Such response shall indicate either an
interpretation or a specified time limit when such 't,fi''''i;}'tqpretation will be forthcoming. The time limit shall
be no longer than is reasonable to anow considei;atlOi~..?f dr~~ teconunendatioiis on the issue by, fOf eXaInple,
the Procedures Committee oftat....e IEEE Stand~-d~Jl6fu::.:a'~:_:>~"_ '-'",
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14




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